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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,           CR. NO. 2:07-00248-05 WBS
13                 Plaintiff,            MEMORANDUM AND ORDER RE: MOTION
                                         TO REDUCE SENTENCE PURSUANT TO
14        v.                             18 U.S.C. § 3582(c)(2)
15   FERNANDO VILLALPANDO,
16                 Defendant.
17

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20             Before the court are defendant Fernando Villalpando’s

21   motions to reduce his sentence pursuant to 18 U.S.C.

22   § 3582(c)(2). (Docket Nos. 1582, 1585.)

23   I.   Factual and Procedural History

24             On June 24, 2009, the grand jury returned its Second

25   Superseding Indictment charging defendant with conspiracy to

26   distribute and possess at least fifty grams of methamphetamine

27   and possession with intent to distribute at least five kilograms

28   of cocaine.   (Docket No. 420.)     Defendant pled guilty pursuant to
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1    a written plea agreement with the government filed on March 29,

2    2011.       (Plea Agreement (Docket No. 827).)   In the plea agreement,

3    defendant agreed to a sentence of 240 months but did not agree to

4    a specific drug quantity involved in the offenses, nor a specific

5    offense level or the applicable Sentencing Guidelines range.

6                  However, in the plea agreement, defendant agreed with

7    the facts set forth in the attached Factual Basis.         (Plea

8    Agreement Ex. A.)       That Factual Basis explained that defendant,

9    beginning in about April 2004 and up to June 2007, agreed with

10   Mario Diaz and others to distribute large quantities of

11   methamphetamine and cocaine.      Specifically, as part of a drug

12   trafficking conspiracy, “in mid-2004, the defendant began

13   providing multiple-pound quantities of methamphetamine and

14   multiple kilogram quantities of cocaine” to others “for further

15   distribution in the Northern California area.”        The Factual Basis

16   also explained that defendant sold more than 100 pounds of

17   methamphetamine to Diaz and agreed to sell 20 kilograms of

18   cocaine to Diaz, which defendant then provided to two of his co-

19   defendants for transport to Northern California.         The presentence

20   report also noted that defendant sold more than 100 pounds of
21   methamphetamine to Diaz and provided multiple pounds of

22   methamphetamine and multiple kilograms of cocaine to Diaz and

23   others.      (PSR ¶¶ 27-28, 35 (Docket No. 1467).)

24                 The presentence report ultimately found that

25   defendant’s base offense level was 38, his total offense level

26   was 35,1 and his criminal history category was I.        (PSR at 2a, ¶¶
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             1
               The presentence report found that a 3-level reduction
28   was appropriate based on defendant’s acceptance of responsibility
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1    35-42.)     Under the Sentencing Guidelines, the resulting

2    Guidelines range was 168-210 months, though the presentence

3    report recommended a sentence of 240 months “[d]ue to the

4    significance of the amount of controlled substances involved in

5    the offense and the history and characteristics of the

6    defendant.”     (PSR 2a; see also PSR ¶¶ 69, 71-76.)

7                The court held a sentencing hearing on September 26,

8    2011.     (Sentencing Hr’g Tr. (Docket No. 1467).)     Hearing no

9    objection from the parties, the court adopted the presentence

10   report’s findings and found that the applicable offense level was

11   35, the criminal history category was I, and the Guidelines range

12   was 168-210 months.     After noting the parties’ agreement on a

13   sentencing of 240 months based on the “extraordinary amount of

14   drugs trafficked by defendant,” the court’s familiarity with the

15   evidence presented at the trials of his co-defendants, and the

16   need to avoid sentencing disparities with his co-defendants, the

17   court imposed the 240-month sentence.       (Sentencing Tr. 2-5, 7-8.)

18               In 2014, the U.S. Sentencing Commission issued

19   Amendment 782 to the U.S. Sentencing Guidelines (“U.S.S.G.”),

20   reducing guidelines ranges for certain drug offenses by two
21   offense levels.      In accordance with Congress’s directive in 28

22   U.S.C. § 994(u), the Commission further determined that Amendment

23   782 should have retroactive effect for those currently serving

24   terms of imprisonment.     See U.S.S.G. App. C, Amend. 782.

25   II.     Discussion

26               Section 3582(c)(2) provides:
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     and his timely notification to the government of his intent to
28   enter a guilty plea.
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         The court may not modify a term of imprisonment once
2        it has been imposed except that . . . in the case of a
         defendant who has been sentenced to a term of
3        imprisonment based on a sentencing range that has
         subsequently been lowered by the Sentencing Commission
4        pursuant to 28 U.S.C. 994(o), . . . the court may
         reduce the term of imprisonment, after considering the
5        factors set forth in section 3553(a) to the extent
         that they are applicable, if such a reduction is
6        consistent with applicable policy statements issued by
         the Sentencing Commission.
7
     18 U.S.C. § 3582(c)(2).     “Section 3582(c)(2) instructs a district
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     court to ‘conside[r] the factors set forth in section 3553(a) to
9
     the extent that they are applicable,’ but it authorizes a
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     reduction on that basis only ‘if such a reduction is consistent
11
     with applicable policy statements issued by the Sentencing
12
     Commission’--namely, § 1B1.10.”      Dillon v. United States, 560
13
     U.S. 817, 826 (2010).    Courts have thus interpreted the statute
14
     to establish a “two-step inquiry.”      See id. at 826-27.        “A court
15
     must first determine that a reduction is consistent with § 1B1.10
16
     before it may consider whether the authorized reduction is
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     warranted, either in whole or in part, according to the factors
18
     set forth in § 3553(a).”     Id. at 826.
19
               Defendant contends that Amendment 782 retroactively
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     reduces his total offense level to 33, with an applicable amended
21
     Guidelines range of 135-168 months.        (Def.’s Mot. 2.)   He notes
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     that the threshold for a base offense level of 38 at the time of
23
     sentencing was 150 kilograms of cocaine and 1.5 kilograms of
24
     actual methamphetamine, but now, after Amendment 782, the
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     threshold amount is 450 kilograms of cocaine and 4.5 kilograms of
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     actual methamphetamine.     He further contends that there is
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     insufficient evidence in the record for the court to find that
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1    either of these higher threshold quantities are attributable to

2    defendant.   Defendant ultimately requests a sentence of 193

3    months, or about 15% over the high end of his purported new

4    Guidelines range, comparable to his original sentence which was

5    about 15% over the original Guidelines range.

6              Defendant’s contention that there is insufficient

7    evidence to support a base offense level of 38 under the revised

8    Guidelines is not persuasive.      While the court did not find at

9    sentencing that defendant was responsible for any particular

10   quantity of drugs, “district courts in § 3582(c)(2) proceedings

11   may make additional findings on the drug quantity attributable to

12   a defendant if those findings are necessary to determine the

13   defendant’s eligibility for a sentence reduction.”         United States

14   v. Mercado-Moreno, 869 F.3d 942, 955 (9th Cir. 2017).         In

15   determining “whether the defendant is more likely than not

16   responsible for the new quantity threshold under the retroactive

17   Guidelines amendment,” the court may consider, among other

18   things, the sentencing transcript and portions of the presentence

19   report that the sentencing court adopted.       Id. at 957.       Moreover,

20   the court “may accept as true any facts in a PSR that the
21   defendant did not object to at the time of sentencing.”            Id.

22             Here, the court adopted in full the findings of the

23   presentence report, and the presentence report specifically found

24   that defendant sold more than 100 pounds of methamphetamine to

25   Mario Diaz during the conspiracy.       Defendant did not object to

26   this finding or any other finding of the presentence report, and
27   also agreed, as part of the plea agreement accepted by the court,

28   to the Factual Basis which stated that defendant sold more than
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1    100 pounds of methamphetamine to Mario Diaz during the

2    conspiracy.   Similarly, the presentence report found, and

3    defendant agreed to the Factual Basis stating, that defendant

4    provided multiple-pound quantities of methamphetamine to others

5    for distribution.

6              Based on the foregoing, the court hereby expressly

7    finds what is implicit in its prior sentence: that defendant is

8    responsible for possessing and distributing more than 4.5

9    kilograms of actual methamphetamine as part of the drug

10   trafficking conspiracy alleged in the indictment, under a

11   preponderance of the evidence.      See Mercado-Moreno, 869 F.3d at

12   957-58 (the district court is not required to find a specific

13   quantity of drugs and may approximate the weight using

14   circumstantial evidence).     Thus, defendant’s base offense level

15   remains 38, and his Guidelines range of 168-210 months has not

16   been changed by Amendment 782.      Accordingly, defendant is

17   ineligible for a sentencing reduction, and his request for a

18   lower sentence must be denied.      See U.S.S.G. § 1B1.10 (“[A]

19   reduction in the defendant’s term of imprisonment . . . is not

20   authorized under 18 U.S.C. § 3582(c)(2) if . . . [the amendment]
21   does not have the effect of lowering the defendant’s applicable

22   guideline range.”).

23             IT IS THEREFORE ORDERED that defendant’s motion for

24   reduction of sentence pursuant to § 3582(c)(2) be, and the same

25   hereby is, DENIED.

26   Dated:   November 2, 2017
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